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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 ASHTON ORR et al.,

         Plaintiffs,

 v.                                                         Civil Action No. 1:25-cv-10313

 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,

         Defendants.


                       DEFENDANTS’ BRIEF IN RESPONSE TO ORDER

       Pursuant to the Court’s May 27, 2025, Order, Defendants respectfully submit this brief in

response to the Court’s proposed class definitions. See Order, ECF No. 104. 1 Defendants maintain

that neither class should be certified for the reasons articulated in its opposition to Plaintiff’s

motion for class certification. See Defs.’ Opp’n to Mot. for Class Cert., ECF No. 88 (“Def’s

Opp’n”). While the Court’s alterations to Plaintiffs’ proposed definitions are necessary, those

alterations are insufficient to satisfy Rule 23.

       As an initial matter, the Court’s revised class definitions cure some deficiencies in

Plaintiffs’ proposed definitions. The Court appropriately limited the first class to trans-identifying

people and people “who have been diagnosed with gender dysphoria,” and the second class to

“non-binary people,” because, as the Court explained at the hearing, Plaintiffs’ alleged injuries

pertain to their membership in one (or more) of those groups. 5/27/2025 Hearing Tr. 11:8–12.

Because Plaintiffs’ class definitions include any person who wants passports with a particular




1 Defendants are aware that a pro se party intends to file a motion to intervene. Because the motion

has not been docketed, Defendants are not responding to the motion to intervene at this time.
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marker for any reason, many of the purportedly common questions Plaintiffs raise would not apply

to a substantial number of putative class members. Plaintiffs’ proposed classes would encompass

people who do not fall into any of those three categories, and the Government’s allegedly unlawful

policies could not “work similar harm” to people falling outside of those categories. Parent/Pro.

Advoc. League v. City of Springfield, 934 F.3d 13, 28 (1st Cir. 2019). The questions raised by

Plaintiffs’ claims are therefore not common among all members of Plaintiffs’ proposed classes

because individuals who want sex markers inconsistent with the Policy for unrelated reasons would

be swept into those classes as well.

       In addition, the Court’s proposed definitions address Defendants’ ascertainability objection

by removing reference to the subjective “wants” of individuals from both class definitions. See

Defs.’ Opp’n at 7–8; see also Pls.’ Mot. for Class Cert. at 1, ECF No. 77 (“A class of all people

who currently want, or in the future will want”). However, the Court’s proposed definitions still

improperly rely on the ascertainment of a person’s subjective state of mind; both classes include

people “who, but for the Passport Policy, would apply, for a U.S. passport.” ECF No. 104 at 2.

       Notwithstanding these improvements, class certification should be denied because class

membership is not readily ascertainable. This problem is particularly acute with respect to

Plaintiffs’ proposed preliminary class.        Determining class membership would require

individualized assessments of each passport applicant. If the Court certifies both classes using its

proposed definitions and extends preliminary relief to the proposed preliminary class, Defendants

would have to determine whether a person seeking a M/F passport is trans-identifying or has a

gender dysphoria diagnosis, and whether a person seeking an X passport is non-binary, in addition

to assessing whether they meet one of the four criteria laid out by Plaintiffs for the preliminary
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class. 2 See Pls.’ Mem. in Supp. of Mot. to Apply Prelim. Inj. To Classes, ECF No. 80 at 6. Because

determining class membership would require detailed individualized assessments, class

certification should be denied. See, e.g., Shanley v. Cadle, 277 F.R.D. 63, 68 (D. Mass. 2011)

(declining to certify a 23(b)(2) class because “ascertain[ing] whether an individual was a member

of the class it would require the determination of additional facts particular to each putative

member . . . or else [the court would] risk sweeping into the class individuals whose factual

circumstances were materially different than those of the class representatives[.]”).

       For the foregoing reasons, as well as the reasons articulated in Defendants’ opposition,

Defendants respectfully request that the Court deny class certification.

Dated: June 3, 2025                               Respectfully submitted,

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2 As the Court suggested during the hearing, were a preliminary class to be certified, it is likely

that preliminary class members would have to submit some kind of standardized attestation as to
their membership in the preliminary class or otherwise self-identify as a class member. See
5/27/2025 Hearing Tr. 41:4–8.
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document was served upon Plaintiffs’ counsel

by the Electronic Case Filing system on June 3, 2025.



                                                    Elizabeth B. Layendecker
                                                    ELIZABETH B. LAYENDECKER
